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                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

   UNITED STATES OF AMERICA ) NO.
    'v.
                                         )
                                                       lscR 4[83
                                         ) Violations: Title 18, United States
                                         ) Code, Sections 113(a)(1), (a)(3), (aX4),
  ADEL DAOUD                             ) and (aXG), and 1791(a)(2)
                                    COUNT ONE                             FILED
       The SPECIAL JANUARY 2015 GRAND JURY charges:                         AUG r   I 2015
                                                                                    t,
        1.   At times material to this indictment:                        THOMAS G. BRUTON
                                                                   GEERIQ U:$: SI$TRIET EOURT

              a.    The Metropolitan Correctional Center-Chicago was a United

States Bureau of Prisons facility located in Chicago, Illinois.

              b.    Defendant AdeI Daoud was an inmate at the Metropolitan

Correctional Center.

              c.    Victim A was an inmate at the Metropolitan Correctional
Center.

       2.     On or about May 23, 2015, at Chicago, in the Northern District of

Illinois,

                                    ADEL DAOUD,

defendant herein, at a place within the special maritime and territorial jurisdiction

of the United States, namely, the Metropolitan Correctional Center, did assault

Victim A with the intent to commit murder;

       In violation of Title 18, United States Code, Section 113(a)(1).
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                                    COUNT TWO

       The SPECIAL JANUARY 2015 GRAND JURY further charges:

        1.    Paragraph 1 of Count One is incorporated here.

       2.     On or about May 23, 2O!5, at Chicago, in the Northern District of

Illinois,

                                    ADEL DAOUD,

defend.ant herein, at a place within the special maritime and territorial jurisdiction

of the United States, namely, the Metropolitan Correctional Center, did assault

Victim A with a dangerous weapon, with the intent to do bodily harm to Victim A;

       In violation of Title 18, United States Code, Section L13(a)(3).




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                                   COUNT THREE

       The SPECIAL JANUARY 2015 GRAND JURY turther charges:

        1.    Paragraph 1 of Count One is incorporated here.

       2.     On or about May 23, 20L5, at Chicago, in the Northern District of

Illinois,

                                   ADEL DAOUD,

defendant herein, at a place within the special maritime and territorial jurisdiction

-of the United States, namely, the Metropolitan Correctional Center, did assault

Victim A, resulting in serious bodily injury to Victim A;

       In violation of Title 18, United States Code, Section 113(a)(6).




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                                    COUNT FOUR

       The SPECIAL JANUARY 2015 GRAND JURY further charges:

       1.    Paragraph L of Count One is incorporated here.

       2.    On or about May 23, 20L5, at Chicago, in the Northern District of

Illinois,

                                    ADEL DAOUD,

def,endant herein, an inmate at the Metropolitan Correctional Center, did

knowingly make and possess a prohibited object, namely, a weapon and an object

that was designed and intended to be used as a weapon;

       In violation of Titte 18, United States Code, Sections 1791(a)(2) and (b)(3).




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                                     COUNT FIVE

       The SPECIAL JANUARY 2015 GRAND JURY further charges:

       1.     Paragraph 1 of Count One is incorporated here.

       2.     On or about December 29,2014, at Chicago, in the Northern District of

Illinois,

                                    ADEL DAOUD,

defendant herein, at a place within the special maritime and territorial jurisdiction

of the United States, namely, the Metropolitan Correctional Center, did assault

Victim A by striking, beating, and wounding Victim A;

       In violation of Title 1-8, United States Code, Section 113(a)( ).


                                                A TRUE BILL:




                                                FOREPERSON



UNITED STATES ATTORNEY
